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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

   BABY DOE, et al.,                         )
                                             )
         Plaintiffs,                         )
                                             )
   v.                                        )               Case No. 3:22-cv-49-NKM
                                             )
   JOSHUA MAST, et al.,                      )
                                             )
         Defendants,                         )
                                             )
   and                                       )
                                             )
   UNITED STATES SECRETARY OF                )
   STATE ANTONY BLINKEN, et al.,             )
                                             )
         Nominal Defendants.                 )
   __________________________________________)

                           DECLARATION OF B. TYLER BROOKS
                              PURSUANT TO 28 U.S.C. § 1746

         Pursuant to 28 U.S.C. § 1746, Brennan Tyler Brooks hereby declares as follows:

      1. My name is Brennan Tyler Brooks. I am one of two attorneys of record for defendant

         Ahmad Osmani in the above-captioned lawsuit. I am over the age of 18 and competent to

         testify to the matters stated herein, all of which are based on my personal knowledge. I

         suffer from no disability that prevents me from making this declaration. All of the

         statements made herein are true and accurate to the best of my knowledge, information,

         and belief.

      2. I am admitted to practice law in four states (North Carolina, South Carolina, Tennessee,

         and Michigan) and also admitted to practice before numerous federal courts, including the

         United States Supreme Court and the United States Court of Appeals for the Fourth Circuit.

         I was first admitted to the bar in 2006 upon being licensed in Tennessee. Following law


                                                                                 Exhibit B
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         school, and before entering the private practice of law, I served as a law clerk to a

         Tennessee state court judge (the Honorable Walter C. Kurtz) and then to U.S. District Judge

         (later U.S. Circuit Judge) Bernice Bouie Donald.

      3. I have reviewed an excerpt of a transcript of a hearing held October 4, 2022, in Virginia

         Circuit Court in which Mr. Osmani appeared as a witness and testified at length. That

         excerpt was filed by the Does in opposition to a motion to quash filed by the Pipe Hitter

         Foundation. Mr. Osmani is not, and has never been, a party to that state court case.

      4. In the excerpt, the transcript reflects that, in addressing the Circuit Court, I referred to my

         client, Mr. Osmani, as a “U.S. citizen.” In fact, Mr. Osmani is a lawful permanent resident,

         not a U.S. citizen.

      5. Assuming the transcript is an accurate representation of what I said, it appears I misspoke

         by saying “citizen” instead of “civilian.”

      6. The instant motion to quash is the first time that I have ever been put on notice of any issue

         in this case (or in the related state court litigation) regarding Mr. Osmani’s status as a lawful

         permanent resident versus a U.S. citizen, and I was not provided a copy of that transcript

         to review for any possible errors before it was finalized.

      7. The context of my statement to the Circuit Court concerned Mr. Osmani’s ability to testify

         about certain matters over an objection of the United States Government based on Touhy

         considerations. My intent was to communicate to the Court that Mr. Osmani is not a

         member of the United States military or even an employee of the United States government.

      8. I am aware of no other instance in the course of any state court proceedings in which there

         has even been a mention of Mr. Osmani’s immigration or citizenship status.




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      9. I did not intend to represent to the Circuit Court that Mr. Osmani was anything other than

         a lawful permanent resident.

      10. If anyone had ever previously raised with me the question of whether Mr. Osmani is a U.S.

         citizen, I would have taken all appropriate steps to correct any misimpression. None of the

         Plaintiffs’ attorneys contacted me to clarify Mr. Osmani’s immigration status prior to their

         asserting to this Court that he is “likely” a U.S. citizen.

      11. I have no reason to believe that any party or attorney in this case has ever actually been

         under the misimpression that Mr. Osmani is a U.S. citizen.

      12. In point of fact, in the course of this federal litigation I have repeatedly stated that Mr.

         Osmani is an Afghan immigrant. Moreover, during a discovery meet and confer held

         June 27, 2023, I reiterated Mr. Osmani’s status as a lawful permanent resident to one of

         the Does’ attorneys (Kevin Elliker of Hunton Andrews Kurth LLP), when explaining my

         client’s fear of retaliation from the United States government.

      13. Other than my one apparent instance of misspeaking by saying “citizen” instead of

         “civilian” in the context of an unanticipated exchange in Circuit Court, I am aware of no

         other evidence or indication that might cause anyone to think Mr. Osmani is a U.S. citizen.

         Pursuant to 28 U.S.C. 1746, I declare under penalty of perjury that the foregoing is true
      and correct.



      Date: August 1, 2023
                                                         _____________________________________________________

                                                         B. Tyler Brooks




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